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           ORAL ARGUMENT NOT YET SCHEDULED
                            No. 22-5281


                United States Court of Appeals
              for the District of Columbia Circuit

                     AMERICAN OVERSIGHT,
                                      Plaintiff-Appellant,
                              v.
 UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES, ET AL.,
                                      Defendants-Appellees.


           On Appeal from the United States District Court
                    for the District of Columbia
                          Case No. 17-827
                   The Hon. Emmet G. Sullivan

       BRIEF FOR APPELLANT AMERICAN OVERSIGHT


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                  CERTIFICATE AS TO PARTIES,
                 RULINGS, AND RELATED CASES

     Pursuant to Circuit Rule 28(a)(1), undersigned counsel certifies the

following:

     A.      Parties and Amici

     Plaintiff in the district court, and appellant here, is American

Oversight. Defendants in the district court, and appellees here, are the

United States Department of Health and Human Services and the Office

of Management and Budget. In the district court, the Committee on

Ways and Means of the United States House of Representatives

intervened on behalf of the defendants; the Committee has informed this

Court, however, that it will not participate in this appeal. There were no

other parties, intervenors, or amici before the district court, and no

intervenors or amici have appeared in this Court to date.

     B.      Ruling Under Review

     Appellant American Oversight seeks review of the May 27, 2022

Memorandum Opinion and Order issued by the Honorable Emmet G.

Sullivan in American Oversight v. U.S. Department of Health and Human

Services et al., Case No. 17-827 (D.D.C.), which adopted in part and

rejected in part the Report and Recommendation issued by Magistrate


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Judge Deborah A. Robinson on August 10, 2018, as well as the

August 26, 2022      Final   Judgment      incorporating   Judge    Sullivan’s

Memorandum Opinion and Order. The May 27, 2022 Order is reproduced

at JA 568–69. The May 27, 2022 Memorandum Opinion is reproduced at

JA 570–639; it is not yet published in a reporter but is also available at

2022 WL 1719001. The August 26, 2022 Final Judgment is reproduced

at JA 647–48. The August 10, 2018 Report and Recommendation is

reproduced at JA 487–513.

     C.    Related Cases

     This case has not previously been before this Court or any other

court (other than the district court below).         Counsel for American

Oversight are not aware of any related cases within the meaning of

Circuit Rule 28(a)(1)(C).

Date: February 13, 2023        Respectfully submitted,




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            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit

Rule 26.1, appellant American Oversight certifies that it does not have

parent corporations, and that no publicly held corporation has a 10% or

greater ownership interest in American Oversight.

Date: February 13, 2023     Respectfully submitted,

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       STATEMENT IN SUPPORT OF ORAL ARGUMENT

     Appellant American Oversight respectfully requests oral argument

in this case.   This case presents the question of whether certain

communications between congressional staff and executive agencies fall

under the “consultant corollary” to Exemption 5 of the Freedom of

Information Act. Because this issue is likely to recur—and indeed is

already the subject of a split within the district, compare American

Oversight v. U.S. Dep’t of Health & Human Services, 380 F. Supp. 3d 45

(D.D.C. 2019), with American Oversight v. U.S. Dep’t of Treasury, 474 F.

Supp. 3d 251 (D.D.C. 2020), and American Oversight v. U.S. Dep’t of

Transportation, Case No. 18-1272, 2022 WL 103306 (D.D.C. Jan. 11,

2022)—oral argument would aid the Court in rendering its decision.




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                              GLOSSARY



 ACA*                  Affordable Care Act

 AHCA*                 American Health Care Act

 FOIA                  Freedom of Information Act

 HHS                   U.S. Department of Health and Human Services

 JA                    Joint Appendix

 OMB                   Office of Management and Budget




* American Oversight notes that, in compliance with Circuit Internal
Procedure IX(a)(8)(d), it uses the acronyms “ACA” and “AHCA” in this
brief only when quoting specific search terms that were used in this FOIA
matter. Because the distinction between a search term using the
acronym and a search term using the full title of the statute forms the
crux of one of the disputes at issue, this limited use of these acronyms is
necessary here.

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                           INTRODUCTION

      The government seeks to withhold from Freedom of Information Act

disclosure certain communications between Executive Branch agencies

and Congress relating to efforts to repeal and replace the Affordable Care

Act—on the theory that Members of Congress and their staff were acting

as mere “consultants” to the co-equal Branch, in a manner “just as an

employee would be expected to do.” Dep’t of the Interior v. Klamath, 532

U.S. 1, 11 (2001).   But this application of the “consultant corollary”

doctrine would stretch it past the breaking point.

      The consultant corollary doctrine—the standards for which are

“hotly debated,” JA 607—permits agencies, in certain circumstances, to

withhold documents created by an outside consultant when the records

are part of the agency’s deliberative process. More than twenty years

ago, however, the Supreme Court noted the ways in which the consultant

corollary doctrine had exceeded statutory limitations and set guardrails

for the outer limits of the doctrine. Klamath, 532 U.S. at 12. As a result,

this Court has made clear that the consultant corollary applies only in

“situations where an outside consultant did not have its own interests in

mind.”   Public Employees for Environmental Responsibility v. U.S.



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Section, International Boundary & Water Commission, U.S.-Mexico, 740

F.3d 195, 201–02 (D.C. Cir. 2014) (Kavanaugh, J.) (referencing Klamath).

In their efforts to pass health care reform legislation, Members of

Congress and their staff surely had their “own interests in mind,” and

not merely the interests of the U.S. Department of Health and Human

Services and the Office of Management and Budget.                In holding

otherwise, the district court below effectively expanded the scope of the

consultant corollary doctrine, leaving behind an unworkable test and

opening the door for agencies to withhold an increasing volume of

external communications in violation of the principle that FOIA

exemptions be narrowly construed.        This Court should decline the

government’s invitation to follow down that path.

      HHS additionally failed to conduct an adequate FOIA search in the

first place. In conducting a search for communications related to “health

care reform,” HHS refused to search for common synonyms of the search

terms it employed, such as “Obamacare” and “repeal and replace.”

Although an agency is not required to include every possible search term,

it is required under this Court’s precedent to prove that it has conducted

a search reasonably calculated to uncover all relevant documents.



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Declining to employ obvious search terms, without sufficient explanation,

cannot meet that standard.

                    STATEMENT OF JURISDICTION

      The district court had federal question jurisdiction under 28 U.S.C.

§ 1331. That court entered its final judgment on August 26, 2022, JA

647, and American Oversight timely appealed on October 25, 2022, JA

649. This Court has appellate jurisdiction under 28 U.S.C. § 1291.

                     STATEMENT OF THE ISSUES

      1.    Whether the U.S. Department of Health and Human Services

and   Office   of    Management    and    Budget    improperly     withheld

communications between agency personnel and Members of Congress

and congressional staff under the “consultant corollary” to Exemption 5

of the Freedom of Information Act, 5 U.S.C. § 552(b)(5).

      2.    Whether the U.S. Department of Health and Human Services

failed to conduct an adequate search for records responsive to American

Oversight’s FOIA request where it refused to search for commonly used

synonyms.




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                             PERTINENT STATUTES

      The relevant provisions of the Freedom of Information Act, 5 U.S.C.

§ 552, state:

      (a)   Each agency shall make available to the public information as

            follows: . . .

            (3)(A) . . . each agency, upon any request for records which (i)

            reasonably describes such records and (ii) is made in

            accordance with published rules stating the time, place, fees

            (if any), and procedures to be followed, shall make the records

            promptly available to any person. . . .

      (b)   This section does not apply to matters that are . . .

            (5)   inter-agency or intra-agency memorandums or letters

                  that would not be available by law to a party other than

                  an agency in litigation with the agency, provided that

                  the deliberative process privilege shall not apply to

                  records created 25 years or more before the date on

                  which the records were requested . . . .




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      The relevant statutory provisions providing definitions for the

Freedom of Information Act, 5 U.S.C. § 551, state:

      For the purpose of this subchapter—

      (1)   “agency” means each authority of the Government of the

            United States, whether or not it is within or subject to review

            by another agency, but does not include—

            A.   the Congress . . . .

                     STATEMENT OF THE CASE

A.    Statutory Background

      The Freedom of Information Act, 5 U.S.C. § 552, generally requires

federal agencies to make their records available to the public upon

request. FOIA contemplates only nine exemptions from disclosure. At

issue here is Exemption 5, which permits agencies to withhold “inter-

agency or intra-agency memorandums or letters that would not be

available by law to a party other than an agency in litigation with the

agency.” 5 U.S.C. § 552(b)(5). Exemption 5, like the others, “must be

narrowly construed.” Milner v. Dep’t of Navy, 562 U.S. 562, 565 (2011)

(internal quotation marks and citations omitted).         It contains two

components: a threshold requirement that the documents qualify as



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“inter-agency” or “intra-agency,” and then a determination of whether a

substantive privilege, such as attorney-client privilege, work product

privilege, or—relevant here—the deliberative process privilege, applies.

B.    Procedural History

      In March 2017, Republicans in the House of Representatives

introduced a set of bills—the American Health Care Act—intended to

repeal and replace the Affordable Care Act. A few weeks later, American

Oversight, a nonprofit, nonpartisan organization focused on the

promotion of transparency in government, submitted substantively

identical FOIA requests for records related to health care reform to the

Department of Health and Human Services and the Office of

Management and Budget. As relevant here, American Oversight sought

communications, talking points, and other material “exchanged between

[HHS or OMB, respectively] and any Members of Congress or

congressional staff relating to health care reform.” JA 32, 40.

      Failing to receive a substantive response from either HHS or OMB,

American Oversight filed suit under FOIA. JA 17. The district court

ordered HHS and OMB to review and produce responsive records on a

rolling basis. JA 6 (May 25, 2017 Minute Order). Once the productions



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were complete, American Oversight noted several deficiencies: first, the

produced records from both HHS and OMB were extensively redacted

under claims of deliberative process privilege pursuant to Exemption 5,

although many of these records covered communications between the

agencies and congressional staff, and thus did not qualify as “inter-

agency” or “intra-agency” communications. And second, HHS had used

only three search terms in its efforts to locate responsive documents:

“health care reform,” “ACA,” and “AHCA.” 1

      Unable to resolve these disputes, the parties filed cross-motions for

summary judgment.2       HHS and OMB produced several declarations

providing the basis for their decision to withhold communications under

Exemption 5. OMB provided a declaration from then-Associate Director




1 American Oversight identified other issues, such as the improper
redaction of calendar entries, which were resolved below.
2 In the district court, the Committee on Ways and Means of the U.S.
House of Representatives intervened as a defendant to argue that a
handful of documents constituted “congressional records” and should not
be produced by the agencies. The district court ultimately found the
Committee’s motion for summary judgment on that issue to be moot, JA
568, and the question is not before this Court on appeal. The Committee
has therefore informed this Court that it will not participate in the
appeal. See Mot. to Withdraw as Counsel, Doc. No. 1980279, at 2 (Jan.
5, 2023).

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for Legislative Affairs Jonathan Slemrod, JA 107, who stated that “[t]he

communications involving OMB at issue . . . were exchanged between

individuals in the current [Trump] administration and Republican

Members of Congress and their staff, all of whom shared the common

goal of enacting the [American Health Care Act], or legislation closely

paralleling that bill.” JA 109 ¶ 7. According to Mr. Slemrod, “OMB relied

on the informal channel of email communications to enable its officials

and staff to receive information from Congress that was used to advise

the President about health care reform.” JA 110 ¶ 10. Mr. Slemrod

stated   that   “deliberations   in   support    of   an    eventual    final

recommendation” as to the actions the President should take with regard

to a given bill “are ongoing as the bill is being developed by Congress, and

advice is given to the President at many points before final passage.” Id.

¶ 9. Mr. Slemrod described a spectrum of OMB roles, including the

preparation of Statements of Administration Policy, coordinating and

harmonizing stakeholders’ views, debating potential strategies for

passing legislation in Congress, and providing technical assistance to

Congress in drafting legislation. JA 110–14. OMB therefore “sought to

influence and shape pending legislation by discussing, consulting, and



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negotiating with Congressional personnel,” including by providing

“answers to specific questions about how programs operate.” JA 114–15

¶¶ 18, 20.

      HHS produced a declaration from Kristin Skrzycki, then-Deputy

Chief of Staff for then-HHS Secretary Tom Price, JA 203, and one from

Sarah Arbes, then-Principal Deputy Assistant Secretary for Legislation,

JA 208. Ms. Skrzycki stated that the communications at issue “were

exchanged between individuals who shared the common goal of enacting

health care reform legislation,” and that the communications “included

policy proposals and strategic discussions that informed [HHS’s] process

in deciding between administrative options and adjusting technical

assistance provided to Congress.” JA 207 ¶ 20. Ms. Arbes specified that

the communications at issue “informed HHS’ decision-making about

potential administrative initiatives,” such as identifying potential HHS

rulemakings that might become necessary, ensuring that technical

assistance was “responsive to the needs of congressional staff,” and

“communicat[ing] effectively with external stakeholders and the media.”

JA 209–10 ¶ 8. All three declarants attested to their belief that the




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expectation of confidentiality enabled candid discussions over e-mail. JA

115–17 ¶¶ 19–24; 206–07 ¶¶ 19–20; 210 ¶¶ 9–10.

      As to the adequacy of the search, HHS produced a declaration

stating that it chose only the three search terms identified above “because

the request sought records relating to ‘health care reform,’” and that

“[u]sing the abbreviated versions of [ACA and AHCA] made sense to [the

HHS component] because they are frequently used in the day-to-day

operations of the Department, as opposed to the unabbreviated versions,

and were therefore reasonably likely to locate responsive records.” JA

122 ¶ 16. The declarant further stated that “[i]t is reasonably likely that

the use of more general terms would have resulted in an excessive

number of records that would have been labeled ‘potentially responsive,’

which the FOIA Office would have had to review and process, without a

meaningful increase in the likelihood of identifying additional records

that were actually responsive.” Id.

      The district court referred the matter to a Magistrate Judge, who

issued a report and recommendation on August 10, 2018. JA 487. The

Magistrate Judge granted in part and denied in part the agencies’ motion




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for summary judgment and denied American Oversight’s cross-motion for

summary judgment.

      As to the communications between the agencies and congressional

staff, the Magistrate Judge determined that withholding was appropriate

under Exemption 5.      JA 500–04.       The Magistrate Judge applied

Exemption 5’s “consultant corollary,” which permits agencies to withhold

documents in certain situations where the agencies have sought advice

from outside consultants who effectively take the role of agency

employees. JA 500–01. The Magistrate Judge found that OMB and HHS

had solicited advice from the congressional staff, and that the

congressional staff was not self-interested in providing that advice. JA

501–04. In the Magistrate Judge’s view, the relevant focus here was not

the policy process within a single agency, but rather the interest of the

federal government as a whole across both branches:             “Congress

members’ interests here are not . . . adverse to the interests of the

government, they are the interests of the government—in both Congress

and the Executive—as evidenced by their consultant relationship.” JA

502–03 (emphasis in original).




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      Having found that the communications qualified as “intra-agency,”

the Magistrate Judge next determined that the communications mostly

fell within the deliberative process privilege because “they were provided

for the purpose of developing agency understanding of the legislative

status of health care reform in Congress for use in the production of

agency materials.” JA 507.

      The Magistrate Judge also determined that HHS’s search was

adequate.   JA 493–95.    Although HHS had submitted a declaration

stating only that the search terms it employed were “frequently used in

the day-to-day-operations” of HHS, JA 122 ¶ 16, the Magistrate Judge

found that “HHS conducted its searches using what it perceived to be a

reasonable set of search terms (the most commonly used references) that

would turn up the requested documents,” and that American Oversight

had “not presented significant evidence to suggest that other documents

could be found that do not contain one of the search terms used,” JA 495

(emphasis added).

      Following the submission by both parties of objections to the report

and recommendation, the district court issued a memorandum opinion

and order on May 27, 2022. JA 568, 570. The court adopted in part and



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rejected in part the report and recommendation, granting summary

judgment to OMB and HHS on the issues relevant here. JA 569.

      The district court held that the communications between the

agencies and congressional staff fell within the consultant corollary and

were thus subject to Exemption 5. JA 604–08. The court held that the

consultant corollary “would only be inapplicable” if the interests of the

congressional staff and agencies were “(1) necessarily adverse; and (2)

the members were competitors” for the same limited benefit. JA 609

(citation omitted). The district court believed that the “common interest”

in passing health care reform legislation sufficed to invoke the corollary,

id., given the court’s view that “Congress members were not providing

advice in their own self-interest,” JA 612 (internal quotation marks and

citation omitted). As to American Oversight’s argument that Members

had the interests of their constituents in mind, the court responded that

Members “may be solicited for advice by agencies precisely because they

will advocate for their constituencies in the process of working with the

Executive Branch on the common goal of passing legislation, and thereby

aid the agency’s process.” JA 610–11 (emphasis in original). The court

also found that OMB and HHS had solicited these communications—



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even where certain e-mails demonstrated that Congress sought the

agencies’ advice, instead of the reverse. JA 615–18.

      The court next held that the documents fell within the deliberative

process privilege. JA 618–28. As above, the court relied on what it

deemed the “intertwined nature of congressional and Executive Branch

decision making,” JA 620, and found that the “iterative process of

drafting legislation . . ., while aiding Congress . . . [is] also relevant to the

Executive Branch’s own decision making,” JA 624–25. 3

      The district court also determined that HHS’s search was adequate.

JA 600–04. Reviewing the Magistrate Judge’s opinion for clear error, the

court “conclude[d] there is nothing unreasonable in HHS choosing to

search the most common forms of reference used in the day-to-day

operations of the Department.” JA 603 (internal quotation marks and

citation omitted). The court stated that “HHS is not required to assert

that other terms were not also used, or even that all of the other proposed


3 The district court did order the agencies to release any redacted
information that is both factual in nature and segregable from the
deliberative portion of documents. JA 626–28. In the interest of
conserving agency resources, American Oversight agreed to forgo this
segregability review; if American Oversight prevails on the consultant
corollary question in this appeal, its right to disclosure would subsume
those documents. See JA 641.

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terms were used less frequently.” Id. (internal quotation marks and

citation omitted). The court also noted a “lack of significant evidence to

suggest that other documents could be found that do not contain one of

the search terms used.”          JA 603–04 (internal quotation marks and

citations omitted).

      Because the district court also ordered additional production and a

supplemental declaration on issues not presently before this Court, final

judgment did not issue until August 26, 2022.            JA 647.     American

Oversight timely appealed on October 25, 2022. JA 649.

                           SUMMARY OF ARGUMENT

      I.   OMB and HHS bear the burden of establishing that the

communications they seek to withhold from production under FOIA

Exemption 5 are “intra-agency.” They cannot meet that burden. The

agencies   seek       to     withhold   communications     with     Congress—

definitionally, communications that are not “intra-agency.” Although

this Court has developed the “consultant corollary” doctrine to permit the

withholding of some communications with individuals outside of the

agency itself, the doctrine does not extend this far. As the Supreme Court

made clear in Klamath, and this Court has reiterated in its post-Klamath



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holdings, the consultant corollary cannot shield documents prepared by

outside “consultants” who are acting in their own, or someone else’s,

interest.   Members of Congress and their staff, who are part of an

independent branch of government and are elected and hired specifically

to represent the interests of their constituents, generally fall beyond the

outer limits of this doctrine. The government’s efforts to expand this

doctrine beyond the existing case law would do violence to the statutory

text, contradict the Supreme Court’s teachings, and violate the

established principle that FOIA exemptions must be construed narrowly.

      II.   HHS also bears the burden of demonstrating that its search

was reasonably calculated to locate all documents responsive to

American Oversight’s FOIA request for communications relating to

“health care reform.” HHS cannot meet that burden either. As numerous

courts have explained, agencies must search for obvious synonyms in an

effort to capture all responsive documents. But here, HHS searched only

“health care reform,” “ACA,” and “AHCA”—refusing to include self-

evident alternatives such as “Affordable Care Act,” “American Health

Care Act,” “Obamacare,” and “repeal and replace.”            HHS fails to

demonstrate that these additional search terms are unlikely to result in



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the location of additional responsive documents, particularly given that

American Oversight has introduced evidence that the alternative search

terms were regularly used by both agency staff and their congressional

interlocutors.

                       STANDARD OF REVIEW

      This Court reviews questions of law—including a district court’s

decision to grant summary judgment—de novo. See Judicial Watch, Inc.

v. U.S. Dep’t of Justice, 20 F.4th 49, 54 (D.C. Cir. 2021).

                              ARGUMENT

I.    THE CONGRESSIONAL COMMUNICATIONS AT ISSUE
      ARE NOT EXEMPT FROM FOIA DISCLOSURE

      “FOIA mandates disclosure of records held by a federal agency,

unless the documents fall within enumerated exemptions.” Klamath, 532

U.S. at 7 (citations omitted). “These limited exemptions,” however, “do

not obscure the basic policy that disclosure, not secrecy, is the dominant

objective of the Act,” and so “these exemptions have been consistently

given a narrow compass.” Id. at 7–8 (internal quotation marks, citations,

and alteration omitted).

      FOIA’s Exemption 5 permits agencies to withhold from disclosure

“inter-agency or intra-agency memorandums or letters that would not be


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available by law to a party other than an agency in litigation with the

agency.” 5 U.S.C. § 552(b)(5). This encompasses two conditions: first,

the document’s “source must be a Government agency,” and second, “it

must fall within the ambit of a privilege against discovery under judicial

standards that would govern litigation against the agency that holds it.”

Klamath, 532 U.S. at 8. The first of these conditions is at issue in this

appeal.

      “The agenc[ies] bear[] the burden of establishing that a claimed

exemption applies.” Citizens for Responsibility & Ethics in Washington

v. U.S. Dep’t of Justice, 746 F.3d 1082, 1088 (D.C. Cir. 2014).         The

government fails to meet its burden here.

      A.    The Supreme Court has established limitations on the
            consultant corollary doctrine.

      As the Supreme Court explained in Klamath, “the first condition of

Exemption 5 is no less important than the second; the communication

must be ‘inter-agency or intra-agency.’” 532 U.S. at 9 (quoting 5 U.S.C.

§ 552(b)(5)). Here, of course, although HHS and OMB are agencies, the

documents at issue are communications with Congress. And Congress is

explicitly excluded from the statutory definition of “agency” for FOIA

purposes.   See 5 U.S.C. § 551(1)(A).     As a matter of plain textual


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interpretation, then, this would ordinarily be an open-and-shut case. See

Klamath, 532 U.S. at 9 (“Statutory definitions underscore the apparent

plainness of this text.”). 4    Thus, as a matter of literal meaning,

communications with Congress cannot be “intra-agency” or “inter-

agency.”

      A number of lower courts, however, including this one, have

developed a narrow exception, known as the “consultant corollary,” for

when outside individuals advise the agency in its deliberative processes.

In those instances, “the exemption extends to communications between

Government agencies and outside consultants hired by them.” Id. at 10.

“[T]he fact about the consultant that is constant in the typical cases is

that the consultant does not represent an interest of its own, or the interest


4  The Supreme Court recently applied the same principle when
interpreting the language of FOIA’s Exemption 4. See Food Marketing
Institute v. Argus Leader Media, 139 S. Ct. 2356, 2364 (2019). In the
1970s, this Circuit had determined that the textual requirement that a
document be “confidential” to be withheld under Exemption 4 required a
determination that disclosure would risk substantial competitive harm,
although “substantial competitive harm” does not appear within the
statutory text and is not within the ordinary meaning of “confidential.”
Id. Argus Leader dispensed with this decades-old line of cases,
explaining that “[i]n statutory interpretation disputes, a court’s proper
starting point lies in a careful examination of the ordinary meaning and
structure of the law itself. Where, as here, that examination yields a
clear answer, judges must stop.” Id. (internal citations omitted).

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of any other client, when it advises the agency that hires it. Its only

obligations are to truth and its sense of what good judgment calls for, and

in those respects the consultant functions just as an employee would be

expected to do.” Id. at 10–11 (emphasis added). 5

      In Klamath, the Supreme Court was asked to address the

application of the consultant corollary to documents between certain

Indian Tribes and the Department of the Interior regarding “tribal

interests subject to state and federal proceedings to determine water

allocations.” Id. at 4. In a unanimous opinion, the Court declined to

endorse the consultant corollary, noting the textual tension described

above. Id. at 12. Instead, the Court held that—even if some consultants’

reports might plausibly qualify as “intra-agency”—the same could not be

true for the communications at issue, where certain Tribes “necessarily

communicate with the Bureau [of Indian Affairs] with their own, albeit

entirely legitimate, interests in mind.” Id.




5 The regulations governing the actual consultants for government
agencies—paid federal contractors—are instructive here. Consistent
with Klamath, regulations are aimed at the “two underlying principles”
of “[p]reventing the existence of conflicting roles that might bias a
contractor’s judgment” and “[p]reventing unfair competitive advantage.”
48 C.F.R. § 9.505.

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      The Court contrasted such self-interested communications with

those of consultants who “have not been communicating with the

Government in their own interest or on behalf of any person or group

whose interests might be affected by the Government action addressed

by the consultant,” a “distinction . . . even sharper, in that the Tribes are

self-advocates at the expense of others seeking benefits inadequate to

satisfy everyone.” Id. But “[e]ven if there were no rival interests at stake

. . . the Klamath Tribe would be pressing its own view of its own interest

in its communications with the Bureau.” Id. at 14 (emphasis added). The

Court did not need to reach the question of the validity of the consultant

corollary as a general principle (or its precise contours), because “the

dispositive   point   is   that   the    apparent   object   of    the   Tribe’s

communications is a decision by an agency of the Government to support

a claim by the Tribe that is necessarily adverse to the interests of

competitors.” Id.

      The Klamath Court addressed this Court’s consultant corollary

cases in a footnote, acknowledging that this Court has “recognized at

least two instances of intra-agency consultants that arguably extend

beyond what we have characterized as the typical examples.” 532 at 12



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n.4 (citing Public Citizen, Inc. v. Dep’t of Justice, 111 F.3d 168 (D.C. Cir.

1997) and Ryan v. Dep’t of Justice, 617 F.2d 781 (D.C. Cir. 1980)). As to

Public Citizen, the Court noted that former Presidents were treated as

intra-agency consultants in communications with the National Archives

and Records Administration, “even though the Presidents had their own,

independent interests.” 532 U.S. at 12 n.4. And as to Ryan, the Court

explained that “Senators’ responses to the Attorney General’s

questionnaires about the judicial nomination process were held exempt,

even though we would expect a Senator to have strong personal views on

the matter.” Id. The Court explained, however, that it “need not decide

whether either instance should be recognized as intra-agency, even if

communications with paid consultants are ultimately so treated,”

because    “the   intra-agency    condition    excludes,    at    the   least,

communications to or from an interested party seeking a Government

benefit at the expense of other applicants.” Id.

      In issuing its ruling, the Court was unmoved by the government’s

arguments that its interest in frank communications and a desire to

avoid a chilling effect is by itself sufficient to conclude that

communications are “inter-agency or intra-agency.” Id. at 11. Klamath



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accepted, without “any doubt,” “the Government’s assertion that the

candor of . . . communications . . . would be eroded without the

protections of the deliberative process privilege recognized under

Exemption 5.” Id. But the Court rejected the government’s invitation to

“infer a sufficient justification for applying Exemption 5” from “the

recognition of this interest in frank communication.” Id. Doing so “skips

a necessary step, for it ignores the first condition of Exemption 5, that

the communication be ‘intra-agency or inter-agency.’” Id. at 12. And, the

Court explained, “[t]here is . . . no textual justification for draining the

first condition of independent vitality.” Id.

      In the wake of Klamath, other courts of appeals have confirmed that

Klamath “provides helpful guidance” in “distill[ing] general principles”

that “define the outer boundaries of Exemption 5’s reach”: that is, the

outside consultant “‘functions just as an employee would be expected to

do’” and represents no interest of its own or any other client. Rojas v.

Federal Aviation Administration, 989 F.3d 666, 674–75 (9th Cir. 2021)

(en banc) (quoting Klamath, 532 U.S. at 10–11); see also Jobe v. National

Transportation Safety Board, 1 F.4th 396, 407 (5th Cir. 2021) (“To be

sure, Klamath contains language suggesting that self-interest of some



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kind may prevent outside experts from being deemed consultants.

Whatever that threshold might be, however, it has not been reached

here.” (internal citation omitted)); Tigue v. U.S. Dep’t of Justice, 312 F.3d

70, 78 n.2 (2d Cir. 2002) (distinguishing its case from Klamath, as the

plaintiffs had not argued that the purported consultant was an interested

party).6   The Sixth Circuit has gone even further, suggesting that

Klamath entirely forecloses the consultant corollary as a matter of

textual interpretation. See Lucaj v. Federal Bureau of Investigation, 852

F.3d 541, 548–49 (6th Cir. 2017).

      B.   The communications at issue do not fall within the
           consultant corollary doctrine of this Circuit.

      As this Court has explained, “[i]n the wake of Klamath, we have

confined the consultant corollary to situations where an outside

consultant did not have its own interests in mind.” Public Employees for

Environmental Responsibility, 740 F.3d at 201–02.          For instance, in

McKinley, the FOIA requester argued that the Board of Governors of the

Federal Reserve System failed to demonstrate that its purported




6American Oversight is not aware of any court of appeals cases that have
expressly limited Klamath’s application only to situations where multiple
claimants competed for the same limited resource.

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consultant—the Federal Reserve Bank of New York—shared its

interests. McKinley v. Board of Governors of the Federal Reserve System,

647 F.3d 331, 336 (D.C. Cir. 2014). This Court held, however, that the

Federal Reserve Bank of New York “did not represent an interest of its

own, or the interest of any other client, when it advised the Board”

because it was admittedly an “operating arm” of the Board itself. Id. at

337 (internal quotation marks, citation, and alterations omitted).

Likewise, in National Institute of Military Justice, this Court found that

the lawyers from whom the Department of Defense had solicited

recommendations as to the establishment of military commissions to try

international terrorists “were not pursuing interests of their own so as to

run afoul of Klamath’s concern.” National Institute of Military Justice v.

U.S. Dep’t of Defense, 512 F.3d 677, 685 (D.C. Cir. 2008) (emphasis

added).

      Applying that test to the congressional communications at issue

here, which relate to efforts to pass certain legislation, requires a

different result.    OMB and HHS—which bear the burden—have not

produced any evidence that the congressional staff with whom the

agencies communicated did not have their own interests in mind. Cf.



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American Oversight v. U.S. Dep’t of Health & Human Services, 7 380 F.

Supp. 3d 45, 53 (D.D.C. 2019) (rejecting HHS and OMB’s Exemption 5

claim because their “declarations in support of their motion for summary

judgment . . . do not address whether the outside consultants – the

Congressional representatives and staffers – advised the agencies in a

self-interested manner or whether their only obligations were to truth

and a sense of what good judgment calls” (internal quotation marks,

citation, and alterations omitted)). 8 Nor could they. It would strain

credulity to argue that Members of Congress—elected specifically to

represent their constituents’ interests—and their staff had no self-

interest apart from the agencies’.       On the contrary, our system of



7 Although the case cited here involves the same parties and similar
public records requests, it is indeed a separate matter from the instant
appeal. Although the government noticed an appeal in the case cited
here, the government moved to voluntarily dismiss its appeal before
briefing. See Appellants’ Motion to Dismiss Appeal, American Oversight
v. U.S. Dep’t of Health & Human Services, Case No. 19-5163 (D.C. Cir.
Oct. 16, 2019).
8 But see American Oversight v. U.S. Dep’t of Treasury, 474 F. Supp. 3d
251, 266–67 (D.D.C. 2020) (holding that communications between
congressional staff and Treasury regarding the Trump tax reform
initiative fell within the consultant corollary because they worked
together toward a common goal); American Oversight v. U.S. Dep’t of
Transportation, Case No. 18-1272, 2022 WL 103306, at *5 (D.D.C. Jan.
11, 2022) (similar).

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government assumes that Congress and its Members have independent

interests in representing their constituents, their re-election, and their

standing within their party, as well as many other considerations. See,

e.g., Buckley v. Valeo, 424 U.S. 1, 124 (1976) (“The principle of separation

of powers was not simply an abstract generalization in the minds of the

Framers . . . .”), superseded by statute, Bipartisan Campaign Reform Act

of 2002, 116 Stat. 81, as recognized in McConnell v. Federal Election

Comm’n, 540 U.S. 93, 122 (2003); The Federalist No. 51 (James Madison)

(describing the importance of “opposite and rival interests” in “giving to

those who administer each department the necessary constitutional

means and personal motives to resist encroachments of the others”).

      Far from negating that structural component of our federal

government, the agencies assert, at most, that the Members with whom

they communicated “shared the common goal of enacting health care

reform legislation.” JA 207 ¶ 20; see also JA 109 ¶ 7. But this does not

address the question of the Members’ other interests.             Indeed, the

agencies’ statement that they were “negotiating with Congressional

personnel” themselves suggests that the agencies and Congress—let

alone individual Members and their constituents—were not completely



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aligned.9   JA 115 ¶ 20.    Moreover, simply agreeing on the broadest

possible definition of an overarching goal does not address the core

problem associated with bias: that someone with a vested interest in an

outcome is more likely to present a one-sided view, whether intentionally

or not.

      The district court erred in finding otherwise.        First, the court

misconstrued the relevant test.     The court held that the consultant

corollary is “only . . . inapplicable” if the interests of the congressional

staff and agencies were “(1) necessarily adverse; and (2) the members

were competitors.” JA 609 (citation omitted). But this is not the test

articulated by this Circuit. See Public Employees for Environmental

Responsibility, 740 F.3d at 201–02 (“In the wake of Klamath, we have




9This concern is particularly salient in the context of health care reform.
For example, legislators from a state that has expanded Medicaid would
have different interests than legislators from a state that has not, and
would seek different benefits for their constituents. Moreover, federal
health care funding is a finite resource, and so benefits conferred on one
state or district could disadvantage the constituents of another.

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confined the consultant corollary to situations where an outside

consultant did not have its own interests in mind.”). 10

      Second, the court erred in finding that a general “common interest”

in passing health care reform legislation sufficed to overcome any self-

interest or interest on the behalf of constituents. See JA 610–12.11 The

district court’s belief that congressional staff acted within the consultant

corollary “precisely because they will advocate for their constituencies in

the process of working with the Executive Branch,” JA 610–11 (emphasis

in original), cannot carry the day after Klamath. 12 Members of Congress



10 Although Klamath acknowledged that “the dispositive point” in that
case was “that the apparent object of the Tribe’s communications is a
decision by an agency of the Government to support a claim by the Tribe
that is necessarily adverse to the interests of competitors,” 532 U.S. at
13, this language established a ceiling, not a floor. See id. at 12 n.4
(“[T]he intra-agency condition excludes, at the least, communications to
or from an interested party seeking a Government benefit at the expense
of other applicants.” (emphasis added)).
11The district court also noted a dearth of “case law that requires the
advice of different consultants [here members of Congress] to be aligned
with each other.” JA 610 (emphasis and brackets in original). But
American Oversight does not argue that the advice of various consultants
must be aligned; rather, the consultants must not have their own
interests in mind.
12Indeed, the district court’s conclusion that agencies may seek Members’
advice for that very reason, JA 610–11, begs the question. An agency’s
motivation for seeking self-interested advice does not somehow render


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do not “function[] just as an employee would be expected to do.” 532 U.S.

at 11. Rather, they and their staff are necessarily independent actors

who serve the interests of their constituents and have their own interests

in re-election. The fact that those independent interests may sometimes

coincide at a high level with an agency’s interest does not turn Members

of Congress or their staffs into the equivalent of agency employees. 13

      Precisely because Members of Congress have independent

interests, the rule adopted by the district court would be fundamentally

unworkable: a “common interest” in reforming health care or in any

other legislative proposal is both over- and under-inclusive. If HHS had

asked for the opinion of a Member who was vocally opposed to the idea of

repealing and replacing the Affordable Care Act, that Member’s views

would obviously be informed by a desire to thwart the administration’s



that advice disinterested. Moreover, a test premised on the fact of the
agency’s desire for external input would conceivably apply to every
communication an agency would seek to withhold under the consultant
corollary doctrine—rendering it no test at all.
13Moreover, a common interest—to the extent one exists—cannot be
properly defined at the high level of abstraction proposed by the district
court. It is not enough to simply say that both branches of government
want what is best for their constituencies, or for the American people, as
the same could be said of the Department of the Interior and the Indian
Tribes in Klamath.

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plans. Would that communication be subject to FOIA disclosure, while

communications with other Members on the same issue would be

withheld? Beyond that, there are increasing difficulties with each level

of nuance: the Member who is a Republican but opposing the new bill;

the Member who is a Democrat, but in a swing district; the Member who

is on board with the overall project of the American Health Care Act, but

who is bent on ensuring that a provision of particular interest to her

constituents (although not the administration) receives support from the

Executive Branch; the Member who very much desires to reform health

care (but by moving to a single payer system). Parsing through these

situations is intrinsically fraught when the supposed “consultants” exist

for the very purpose of advocating for the interests of their own

constituents.

      At the same time, a categorical rule—stating that all congressional

communications fall under the consultant corollary—would go far beyond

the proper scope of the consultant corollary doctrine, as this Court and

others have construed it.    See Public Employees for Environmental

Responsibility, 740 F.3d at 201–02. It defies logic to suggest that a co-

equal branch of government is “enough like the agency’s own personnel



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to justify calling their communications intra-agency.” Klamath, 532 U.S.

at 12. Such a rule would likewise be inconsistent with Klamath, where

the Court found that a fiduciary interest was insufficient to merge the

Tribe and the Bureau. Id. at 14. If a fiduciary interest is insufficiently

identical to overcome the potential for differences of position, then the

mere “common goals” articulated by the agencies, see JA 109 ¶ 7; 207

¶ 20, and relied upon by the district court, JA 609, could hardly suffice.

      And if the mere coincidence of a “common interest” between

independent actors brought an otherwise interested party within the

consultant corollary, then there is no reason that private groups with a

meaningful stake in the outcome of such legislation (such as the

healthcare industry itself, or advocacy organizations created for the

express purpose of undoing the Affordable Care Act) could not be shielded

by the consultant corollary as well. This result would undermine not only

Klamath and this Court’s teachings, but also the long-standing principle

that FOIA is “broadly conceived.” Environmental Protection Agency v.

Mink, 410 U.S. 73, 80 (1973), superseded by statute on other grounds, 5

U.S.C. § 552(b)(1), as recognized in CIA v. Sims, 471 U.S. 159, 189 n.5

(1985) (Marshall, J., concurring).



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      In the proceedings below, the government relied heavily on this

Court’s pre-Klamath precedent for the proposition that consultations

across branches of government can fall within the consultant corollary.

But this Court has articulated its post-Klamath test: whether an outside

consultant “did not have its own interests in mind.” Public Employees for

Environmental Responsibility, 740 F.3d at 201–02. And the government

cannot meet that test.

      Beyond that, although this Court has recognized that its prior

“precedent is not inconsistent with Klamath,” National Institute of

Military Justice, 512 F.3d at 680, neither of the cases on which Klamath

cast doubt control here.     In Public Citizen, this Court held that

communications between former presidents and the National Archives

and Records Administration fell within the consultant corollary. Public

Citizen, 111 F.3d at 172. Although, as Klamath recognizes, “Presidents

had their own, independent interests” in access to their presidential

records, 532 U.S. at 12 n.4, this Court found two distinguishing

characteristics in issuing its ruling. First, the Court explained that

former presidents retain the authority to assert their executive privilege

over Presidential communications. Public Citizen, 111 F.3d at 170. And



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second, their consultative relationship with the National Archives and

Records Administration is “not only explicit, . . . but is mandated by

statute.” Id. In other words, the consultation is required, which is not

the case here.14

      In Ryan, President Carter had tasked the Attorney General with

evaluating the selection processes for district court judges, including

whether an effort had been made to find qualified candidates among

women and minority groups. 617 F.2d at 784. The Attorney General sent

Senators a questionnaire about their procedures for recommending

nominees, including questions about the process by which they identified

candidates, how each candidate met the President’s criteria, and the

demographic make-up of any nominating commission used. Id. at 791.

This Court held that the non-factual portions of the questionnaire

responses were exempt from FOIA disclosure under the consultant

corollary. Id. As the Supreme Court acknowledged, “we would expect a

Senator to have strong personal views on the matter.” Klamath, 532 U.S.


14 To the extent the agencies in this case would invoke the
Recommendations Clause, U.S. Const. art. II, § 3, it provides no
assistance: although there is a textual requirement for the President to
provide recommendations for the consideration of Congress, there is no
textual requirement that Congress return the favor.

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at 12 n.4.         But “strong personal views” are not coextensive with

“interests” in the way that term is used by Klamath and the cases

following it. 15

      In any event, Ryan differs factually from the case at hand. In Ryan,

the Attorney General sent the questionnaire at issue to every Senator.

617 F.2d at 784. The questionnaire asked precisely the same information

of all Senators, across party lines, in order to advise the President of the

methodology behind their recommendations for judicial candidates.

Although the Senators in Ryan likely did have strong views on their own

recommendations, the questionnaires were not aimed at uncovering

those views, but rather the bases for them, and the process by which they

were derived. This is a far cry from the situation at hand, where only

some, but not all, congressional staff held a privileged position with HHS

and OMB, and their “consultation” likely went well beyond a description




15For example, the non-governmental lawyers who provided advice to the
Department of Defense on the establishment of military commissions
surely had personal views on the topic. But this Court noted that “there
is no dispute” that these lawyers “were not pursuing interests of their
own so as to run afoul of Klamath’s concern.” National Institute of
Military Justice, 512 F.3d at 685.

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of the process used to arrive at the American Health Care Act. 16 If Ryan

was at the outer bounds for the Klamath Court, the government’s

argument here traverses well beyond them.17

      What’s more, the evidence there is on the instant question shows

that there were no “indicia of a consultant relationship” between the

agencies and congressional staff in this case.      National Institute of

Military Justice, 512 F.3d at 686. In Ryan, the Attorney General had

clearly solicited the questionnaire responses at issue. 617 F.2d at 790;

see also, e.g., McKinley, 647 F.3d at 338 (requiring the agency to show it

solicited the material at issue from the alleged consultant).         Here,




16Moreover, because Senators provide recommendations for district court
vacancies only within their own state—and the two Senators for each
state share the exact same constituency—there is less concern that the
documents at issue in Ryan would implicate the divergence of interests
we see within the Legislative Branch in the course of passing legislation.
17 In National Institute of Military Justice, this Court noted that “the
extent to which either Ryan or Public Citizen may have extended
Exemption 5 beyond its permissible scope based on their peculiar facts is
an issue we need not and do not decide here.” 512 F.3d at 685 (emphasis
in original). As explained above, American Oversight does not believe
that this Court need reach that issue here, either, as the government
effectively seeks an extension of Ryan. If, however, this Court were to
determine that Ryan alone governs this question, en banc review would
be appropriate to determine whether Ryan should be abandoned in light
of Klamath.

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however, the documents reflect back-and-forth negotiations between the

agencies and congressional staff—including, in some instances,

solicitations by congressional staff for assistance and input from the

agencies.   As OMB’s declaration explained, the agency “sought to

influence and shape pending legislation,” including by “negotiating with

Congressional personnel.”     JA 115 ¶ 20; see also id. at 114 ¶ 18

(describing OMB’s “commenting on draft legislative language” and

providing Congress with “answers to specific questions about how

programs operate”); JA 206 ¶ 16 (“HHS engaged with Congress to

monitor and build support for the AHCA.”); JA 208 ¶ 3 (“I assist

congressional staff with their own work and advance the Trump

Administration’s health and human services interests before Congress.”).

      These declarations demonstrate not only that the agencies and

congressional staff held independent interests, but also that the agencies

were trying to influence or assist Congress—not always the other way

around. See JA 466 (entry 46) (describing a withheld e-mail exchange as

“summarizing Executive Branch views on health care in advance of




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health care vote”). 18 The agencies therefore cannot meet their burden of

showing that such documents were “created for the purpose of aiding the

agency’s deliberative process, as were the questionnaires in Ryan.” Dow

Jones & Co., Inc. v. Dep’t of Justice, 917 F.2d 571, 575 (D.C. Cir. 1990)

(emphasis in original).    The district court below determined that a

general statement in an agency declaration that the agency had “sought

feedback from Congress” was capacious enough to include any back-and-

forth communications, because Executive and Legislative Branch

decision-making processes about health care reform were “intertwined.”

JA 614–18 (internal quotation marks and citations omitted). But even if

some individual communications involved an agency requesting specific

information from congressional staff, they cannot serve as a fig leaf broad

enough to cover all of the rest—and still comport with the principle that

the consultant corollary involves an outside party acting “just as an

employee would be expected to do.” Klamath, 532 U.S. at 11. On the


18 Some of the documents that were produced further evidence the tenor
of this relationship. For example, in one e-mail, an HHS employee asks
a Hill staffer if the HHS employee can represent the HHS Secretary at a
“daily war room” meeting on health care reform “being run out of the
Majority Leader’s Office.” JA 317. The reply: “You and . . . the Secretary
have been incredibly helpful to us in this process and I want to keep you
very looped.” Id.

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record before this Court, the agencies worked, at least in part, to assist

and to influence Congress. Deeming congressional staff “consultants” to

the agencies in these circumstances would expand the teachings of Ryan

beyond recognition.

II.   HHS FAILED TO CONDUCT AN ADEQUATE SEARCH

      In addition to its failure to properly disclose congressional

communications, HHS also neglected to conduct an adequate search. An

agency bears the burden of showing “beyond material doubt that its

search was reasonably calculated to uncover all relevant documents.”

Ancient Coin Collectors Guild v. U.S. Dep’t of State, 641 F.3d 504, 514

(D.C. Cir. 2011) (internal citations omitted). The adequacy of the search

is judged by a “standard of reasonableness” and depends upon the facts

of each case. Weisberg v. U.S. Dep’t of Justice, 745 F.2d 1476, 1485 (D.C.

Cir. 1984). Here, in searching for records “relating to health care reform,”

JA 32, HHS used only three search terms: “ACA,” “AHCA,” and “health

care reform.”   JA 122–23 ¶¶ 16–17.       Because HHS failed to include

commonly used and obvious alternatives—such as “Obamacare,” “repeal

and replace,” “Affordable Care Act,” and “American Health Care Act”—




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the record leaves “substantial doubt as to the sufficiency of the search.”

Truitt v. Dep’t of State, 897 F.2d 540, 542 (D.C. Cir. 1990).

      This Court has long characterized an agency’s burden to require it

to “establish[] that any limitations on the search it undertakes in a

particular case comport with its obligation to conduct a reasonably

thorough investigation.” McGehee v. CIA, 697 F.2d 1095, 1101 (D.C. Cir.

1983).      Applying this requirement to the context of search terms,

numerous district courts within this Circuit have found agencies’

searches inadequate where they failed to use known alternative names

or obvious synonyms for the subject of a request. See, e.g., Utahamerican

Energy, Inc. v. Mine Safety & Health Administration, 725 F. Supp. 2d 78,

84 (D.D.C. 2010).

      For example, searches have been deemed inadequate where an

agency searched “Pennsylvania State University” but not “PSU” or “Penn

State,” Bagwell v. U.S. Dep’t of Justice, 311 F. Supp. 3d 223, 229–30

(D.D.C. 2018) (Cooper, J.); where an agency searched for “ideological

tests” but not proxies or synonyms for those words, such as “politics,”

“values,”     “evaluation,”   screening,”   or    “vetting,”      Government

Accountability Project v. U.S. Dep’t of Homeland Security, 335 F. Supp.



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3d 7, 11 (D.D.C. 2018) (Cooper, J.); and where agencies searched for “FBI”

within 50 words of “headquarters” but not for “Hoover Building” or

“JEH,” American Oversight v. U.S. General Services Administration,

Case No. 18-2419, 2020 WL 1911559, at *7–8 (D.D.C. Apr. 20, 2020)

(Kollar-Kotelly, J.); American Oversight v. Office of Management &

Budget, Case No. 18-2424, 2020 WL 1536186, at *4–5 (D.D.C. Mar. 31,

2020) (Friedrich, J.) (similar). As one court explained, “[p]art of liberally

construing a request is searching for synonyms and logical variations of

the words used in the [FOIA] request; an agency may not fish myopically

for a direct hit on the records using only the precise phrasing of the

request.” Citizens for Responsibility & Ethics in Washington v. U.S.

General Services Administration, Case No. 18-377, 2018 WL 6605862, at

*5 (D.D.C. Dec. 17, 2018) (internal quotation marks and citation omitted).

Or, more pithily:     “FOIA requests are not a game of Battleship.”

Government Accountability Project, 335 F. Supp. 3d at 12.

      Under this rule, a search drawing the line between “ACA” and

“AHCA” on one hand and “Affordable Care Act” and “American Health

Care Act” on the other, and omitting common-sense terms like

“Obamacare” and “repeal and replace,” cannot be deemed a “reasonably



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thorough” effort to locate all communications related to “health care

reform.” See McGehee, 697 F.2d at 1101. In reviewing the Magistrate

Judge’s recommendations for clear error, the district court erred in its

conclusion that an agency is not required to even claim, much less prove,

that at least some of the unused search terms are used less frequently

than the search terms that were employed. JA 603. And the district

court turned the agency’s burden on its head by focusing on the evidence

underlying American Oversight’s claims as to the existence of other

potentially responsive documents, rather than the reasonableness of

HHS’s search on its face. See JA 603–04.

      HHS’s efforts to take refuge in its affidavit are unavailing. At best,

HHS’s declaration states that using the abbreviations “ACA” and

“AHCA” “made sense . . . because they are frequently used19 in the day-


19 The district court’s determination that the Magistrate Judge had not
clearly erred in approving HHS’s decision to “search the most common
forms of reference used in the day-to-day operations of the Department”
was incorrect. JA 603 (internal quotation marks and citation omitted).
HHS’s declarant did not state that the search terms it used were “the
most common forms of reference”; he stated only that the terms “ACA”
and “AHCA” were “frequently used” as opposed to “Affordable Care Act”
and “American Health Care Act.” JA 122 ¶ 16. He did not state whether
the terms “ACA” and “AHCA” were used more or less frequently than
“Obamacare” or “repeal and replace,” and so there was no basis on which


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to-day operations of the Department, as opposed to the unabbreviated

versions,” and that “[i]t is reasonably likely that the use of more general

terms would have resulted in an excessive number of records that would

have been labeled ‘potentially responsive,’ . . . without a meaningful

increase in the likelihood of identifying additional records that were

actually responsive.” JA 122 ¶ 16. Even affording the declaration a

presumption of good faith, see SafeCard Services, Inc. v. SEC, 926 F.2d

1197, 1200 (D.C. Cir. 1991), it fails to establish that the unabbreviated

“Affordable Care Act” or “American Health Care Act” were not used in

communications with Congress, and it does not address the terms

“Obamacare” or “repeal and replace” at all.       The declaration simply

asserts, without explanation, that it is “reasonably likely” that

documents hitting on “more general terms” would be largely

unresponsive. JA 122 ¶ 16. To the extent “Obamacare” or “repeal and

replace” are “more general terms” at all, this is a perplexing statement:

it is difficult to imagine a communication between an HHS employee and

a congressional staffer that included the term “Obamacare” but was not




the Magistrate Judge (or district court) could find that HHS searched the
terms most commonly used within HHS.

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related to health care reform, the subject of the FOIA request. But the

HHS declarant does not provide further explanation. “[W]ithout more,

the speculation that the search terms may result in some unresponsive

results is not a sufficient reason to exclude the search terms.” American

Oversight, 2020 WL 1911559, at *8.

      Furthermore, even if the contents of HHS’s declaration were

sufficient on their face—which they are not—American Oversight has

introduced evidence to cast them into reasonable doubt. Agency records

show that HHS employees, Members of Congress, and congressional staff

all used the terms HHS neglected to search. See, e.g., JA 470, 474–75,

476, 481–82.      The district court erred in holding this evidence

insufficient.   The court stated that, because these documents also

contained the search terms used, they did not present “significant

evidence” that other documents would contain only the new terms. JA

603–04. The test the district court applied, however, is untenable. Under

this logic, FOIA requesters would be stuck in a permanent catch-22: by

definition, the produced documents also included the searched terms or

they would not have been produced. That fact thus proves nothing and

should not be used as evidence of the sort of documents that may have



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evaded the initial search (and were therefore beyond the ability of the

requester to cite). Put differently, American Oversight cannot show this

Court a non-public communication between HHS and Congress in which

“Obamacare,” “repeal and replace,” “American Health Care Act,” or

“Affordable Care Act” appears, but “health care reform,” “ACA,” or

“AHCA” do not—precisely because HHS has only searched for and

produced documents including the latter terms. Endorsing this approach

would create an unrebuttable presumption as to the adequacy of an

agency’s search.

      American Oversight likewise introduced transcripts of public

statements in which then-HHS Secretary Tom Price and Members of

Congress used the terms “Obamacare” and “repeal and replace.” See, e.g.,

JA 345, 358, 369, 389, 415, 428, 429. District courts have found that this

kind of evidence—demonstrating that an agency’s interlocutors use a

proposed search term—can effectively demonstrate that an agency’s

search is inadequate. See American Oversight, 2020 WL 1911559, at *7.

But the district court below rejected that evidence, concluding that “there

is nothing unreasonable in HHS choosing to search the most common

forms of reference” used in the agency’s daily operations, because HHS



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was communicating with those interlocutors “as part of its operations.”

JA 603. Beyond the fact that there is no evidence that the search terms

HHS employed were in fact the “most common” terms for daily internal

use, see supra p. 42 n.19, the logic is flawed.        Because American

Oversight’s FOIA request specifically sought communications with

congressional staff, it is plausible—and even likely—that those

interlocutors communicated with HHS using the most common terms in

their daily usage. And if HHS personnel responded by mirroring their

interlocutor’s language, or even with a short response that need not hit

on any of the search terms at all, the document would not be captured by

the search HHS chose to conduct. HHS has failed to carry its burden to

show otherwise.

                            CONCLUSION

      For the foregoing reasons, the judgment of the district court should

be reversed.




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      I hereby certify that on February 13, 2023, I caused the foregoing

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